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                              No. 23-1084

            UNITED STATES COURT OF APPEALS
          FOR THE DISTRICT OF COLUMBIA CIRCUIT


              IN RE SGCI HOLDINGS III LLC, TEGNA INC.,
              AND CMG MEDIA CORPORATION, PETITIONERS



            REPLY BRIEF IN SUPPORT OF
  CONDITIONAL PETITION FOR A WRIT OF MANDAMUS TO
     THE FEDERAL COMMUNICATIONS COMMISSION


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                             INTRODUCTION

     The Commission has chosen to kill a transaction that would create

the largest minority-owned, female-led broadcast-television company in

U.S. history. It knows, and never disputes, that the process it has per-

mitted its Media Bureau to impose cannot produce a final FCC decision

before the transaction’s irreplaceable financing expires on May 22. The

only logical explanation is that the FCC is content to let the Bureau de-

stroy the deal—inexplicably preventing unprecedented gains in diversity.

The Commission’s perplexing comfort with undermining its own funda-

mental goal of increasing diverse ownership subjects this transaction to

a different, yet unarticulated, sui generis standard. Yet the Commis-

sion refuses to take responsibility for that decision, flouting bedrock

administrative-law rules requiring agencies to own their choices. If the

Commission truly believes a countervailing cost outweighs all the trans-

action’s benefits, it must state its reasons on the record and defend its

action in this Court.

     The Commission cannot justify keeping the applications on ice for

a year or exiling the applications to the ALJ hearing, where the deal will

die. Instead, the FCC attempts to disguise textbook mandamus-worthy



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recalcitrance as “entirely reasonable.” Opp. 4. For example, it downplays

the 400 days the applications have already languished by suggesting that

Standard General’s voluntary, binding commitments in December 2022

to put challengers’ baseless assertions to rest—prompted by the agency’s

refusal to engage—somehow sent the agency back to square one.

     The FCC also attempts to blame the broadcasters for devising a

supposedly hyper-complicated transaction. The supposed complexity is

vastly exaggerated.    In essence, Standard General is giving up its

existing stations to acquire most of the stations currently owned by

TEGNA (plus one from a third party). It is selling its existing stations

(and four of TEGNA’s) to make the transaction affordable and to ensure

regulatory compliance. Public records and intervenors’ data demonstrate

that this transaction is much simpler than many the FCC has approved

in a fraction of the 14 months it had here.

     The Commission’s claim that parties must secure financing in per-

petuity (or for some unspecified period the Commission does not disclose)

ignores economic realities. The suggestion that the broadcasters arbi-

trarily selected a deadline and foisted it on the agency is simply false and

misunderstands basic finance. The nature of financing means that deals


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must have deadlines, and the broadcasters here secured an atypically ex-

tended timeline more than double the Commission’s own target, which

they disclosed to the FCC up front. The FCC should not be permitted to

kill a deal, without accountability, by stretching the proceedings beyond

the negotiated expiration date to consider challengers’ fact-free conjec-

ture.

        The Commission’s response underscores the unlawfulness of the

ALJ hearing it has allowed. It simply repeats the Hearing Order’s reci-

tation of assertions made (but never substantiated) by challengers. Re-

viewing the challengers’ submissions shows there is no underlying evi-

dence to justify a hearing on any issue the Hearing Order raised. The

Commission’s brief tacks on case citations for truisms about the FCC’s

abstract authority over “localism” or potential abuses of market power,

without any effort to tie those principles to any facts here. Indeed, while

Commission precedent expressly disclaims power over the areas the

hearing would explore, the Commission now asserts such power might

exist after all, never explaining how delegating those decisions is lawful

or appropriate. And it opposes (at 32) “material relief” for the unconsti-

tutional insulation of its ALJ—a fatal defect the Supreme Court today


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unanimously confirmed inflicts “a here-and-now injury” and justifies im-

mediate judicial review. Axon Enterprise, Inc. v. FTC, No. 21-86 (U.S.

Apr. 14, 2023), slip op. 13 (citation omitted).

     If the FCC truly believes the transaction would not advance the

public interest despite its benefits for diversity and local news, that de-

termination belongs in a judicially reviewable Commission decision—not

in a procedural ruling by a subordinate or a backfilling appellate brief.

The FCC cannot lawfully veto this transformative deal through inaction.

The petition should be granted.

                               ARGUMENT

     The broadcasters undisputedly have no judicial remedy besides

mandamus.      This Court dismissed the broadcasters’ direct appeal.

Whether the writ should issue thus turns on whether the Commission

has violated a clear legal duty to act and whether its delay is unreasona-

ble. Nothing in the oppositions casts doubt on either point.

I.   The Commission Has Violated Its Clear Duty To Act

     No one disputes the Commission’s mandatory duty to decide the

broadcasters’ applications. 47 U.S.C. §§ 309(a), (d)(2), 310(d). The Com-

mission claims instead (at 4, 16-30) that it is fulfilling that obligation by



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allowing the ALJ hearing to proceed. That contention fails because the

FCC knows this procedure cannot reach any conclusion before the deal

dies. Neither the Commission nor its supporters assert that the ALJ

hearing can yield any final Commission decision before May 22—let alone

in time to facilitate judicial review. The FCC has foreordained the out-

come by entrenching that procedure.

      The Commission cannot hide behind the ALJ hearing in any event

because it is unlawful three times over. Its attempts to rescue the hear-

ing fail.

      A.    The Hearing Order subjects the broadcasters to proceedings

before an officer unconstitutionally insulated by three layers of removal

protections. Pet. 24-27. The FCC does not dispute those three layers.

That should be the ballgame.

      Instead, the Commission argues (at 30-31) that triple for-cause re-

moval protections are proper because its ALJ performs “adjudicatory,”

not “enforcement” or “policymaking,” functions. That distinction is illu-

sory. The Supreme Court has held that materially indistinguishable SEC

ALJs are inferior Executive officers subject to Article II’s constraints. See

Lucia v. SEC, 138 S. Ct. 2044, 2049 (2018). They accordingly exercise


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Executive power and none other; if they wielded any Judicial power, their

positions would violate Article III. See American Insurance Co. v. Canter,

26 U.S. (1 Pet.) 511, 546 (1828) (Marshall, C.J.); Jarkesy v. SEC, 34 F.4th

446, 464-465 & n.19 (5th Cir. 2022).

      Indeed, in Lucia, the government conceded that, absent a saving

construction of SEC ALJs’ removal restrictions, “the limitations * * * on

removal of the [SEC] ALJs would be unconstitutional.” Gov’t Br. 53, Lu-

cia, supra (No. 17-130). The Commission does not reprise that ersatz

saving construction here—which would not help because two for-cause

layers would still remain. See Jarkesy, 34 F.4th at 465. The FCC also

wisely does not embrace intervenors’ assertion (at Intervenors’ Opp. 25)

that the ALJ is an officer for other purposes but not for this case. See

Lucia, 138 S. Ct. at 2052 n.4. And its observation (FCC Opp. 31-32) that

other courts have embraced the agency’s mistaken view is irrelevant:

mandamus turns not on nose-counting but on whether the correct answer

is clear. United States v. Monzel, 641 F.3d 528, 532, 534-537 (D.C. Cir.

2011) (granting writ despite circuit conflict).

      The Commission disconcertingly contends (at 22) that the unconsti-

tutional insulation of its ALJ warrants no “material relief.” Opp. 32-33.


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The FCC misreads Collins v. Yellen, 141 S. Ct. 1761 (2021), which con-

cerned relief available after a violation occurs and a challenger has no

“claim for prospective relief.” Id. at 1783, 1787. The broadcasters do not

seek redress for past ALJ acts. They seek “an administrative adjudica-

tion untainted by separation-of-powers violations.”      Cochran v. SEC,

20 F.4th 194, 201 n.16 (5th Cir. 2021) (en banc), aff’d, No. 21-1239 (U.S.

Apr. 14, 2023). As Axon reaffirmed today in upholding immediate judicial

review of such challenges, “[t]he harm” of “‘being subjected’” to “a ‘pro-

ceeding by an unaccountable ALJ’” is a “‘here-and-now injury’” that “is

impossible to remedy once the proceeding is over.” Slip op. 13 (citations

omitted). That is all the more reason for acting now.*

      B.   The FCC also fails to show that either issue designated for

hearing is within the agency’s authority. If the Commission believed its

precedent should (and lawfully could) be modified to permit such inquir-

ies, that would present a novel issue that even the Media Bureau (and a


 * Agency counsel professes confusion (at 33 n.22) about “what benefit
the Applicants would obtain by disqualifying” the ALJ, since the Com-
mission or a single Commissioner could preside. But there has been no
“Commission” vote to do anything in this case, because the Media Bureau,
which is run by a member of the Chairwoman’s staff, seeks to kill the
deal without accountability before this Court—and without any vote by
the Commissioners.

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fortiori the ALJ) cannot decide on delegated authority.           47 C.F.R.

§ 0.283(c).

      Retransmission consent fees.       The Commission’s claimed power

(Opp. 22-24) to regulate retransmission consent fees is illusory. By stat-

ute, retransmission consent agreements are a matter for private agree-

ment.   The Commission can ensure parties negotiate in good faith.

47 U.S.C. § 325(b)(3)(C). But Congress deliberately did not authorize the

FCC “to dictate the outcome of the ensuing marketplace negotiations,”

such as by prohibiting retransmission rates from increasing under any

circumstances. S. Rep. No. 92, 102d Cong., 1st Sess. 35-36 (1991) (em-

phasis added). The Commission’s own authority recognizes that its pub-

lic-interest mandate does not encompass “adjustment of conflicting pri-

vate rights.” Opp. 6 n.4 (quoting FCC v. Pottsville Broadcasting Co., 309

U.S. 134, 138 (1940)).

      The Commission nevertheless asserts authority to scrutinize re-

transmission consent agreements if “anticompetitive” practices are pre-

sent. Opp. 22-24. But neither the FCC’s brief nor the Hearing Order

cites any remotely “anticompetitive” practice under any recognizable




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principle of antitrust law. The Order vaguely gestured to the transac-

tion’s supposedly “unique” structure. Add. 950. But under many struc-

tures that parties might adopt, an acquiror would succeed to contracts

(including retransmission rights) previously negotiated at arm’s length.

The Commission never explains how succeeding by acquisition or merger

to such market-negotiated rights might be “anticompetitive,” or lead to

“artificial” or “supra-competitive” rates. Opp. 17, 23-24.

      Amici suggest the FCC can regulate retransmission fees because it

is “axiomatic” that they are automatically passed on to consumers. ATVA

Br. 7 n.2. But amici identify no record support for that proposition. They

simply assume consumer price increases and offer their assumption as

proof of anticompetitive activity. Id. at 11. The Commission cannot jus-

tify searching for an antitrust fire without identifying even a wisp of

smoke. Citizens for Jazz on WRVR, Inc. v. FCC, 775 F.2d 392, 397 (D.C.

Cir. 1985).

      Staffing levels. The Commission’s assertion of power over station

staffing levels is equally groundless. Opp. 28-30. The FCC has no sweep-

ing license to scrutinize a transaction’s impact on staffing levels. It has

“never suggested” that a “nondiscriminatory” “reduction in a station’s


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staff is contrary to the public interest.” Univision Holdings, 7 FCC Rcd

6672, 6683 n.45 (1992). Instead, the Commission can “analyz[e] * * *

employment practices” “only” to the extent those practices would ad-

versely impact “minority” programming or “raise questions about the

character qualifications of the licensee.” Bilingual Bicultural Coalition

on Mass Media, Inc. v. FCC, 595 F.2d 621, 628 (D.C. Cir. 1978) (en banc)

(emphasis added). The Commission’s citation (Opp. 29 n.20) of decades-

old cases alluding generically to the importance of broadcasters’ service

to local communities is wholly inapposite absent anything tying those

ideas to these facts.

      The Hearing Order likewise invokes only generic “localism” con-

cerns untethered to the two areas of inquiry. Add. 956-957; see FCC

Opp. 25-28. And the supposed threats to localism rest on mischaracteri-

zations. For example, intervenors echo the Hearing Order’s recitation of

intervenors’ own unsubstantiated claim that a Washington, D.C. news

bureau “would feed nationally oriented coverage.” Opp. 22 n.45 (empha-

sis added). That accusation has matters backwards. As the Commission

has recognized, a Washington bureau would provide a powerful local-

news benefit by providing access to key events that a local station could


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not otherwise afford to cover—for example, on-the-Hill interviews with a

district’s Member of Congress. Add. 628; e.g., Tribune Media Co., 2019

WL 4440126, at *11 & n.138 (F.C.C. Sept. 16, 2019).

      C.   Finally, the FCC fails to show how an ALJ hearing is neces-

sary to resolve any “substantial and material questions of fact,” 47 U.S.C.

§ 309(d)(2), especially in view of Standard General’s commitments.

      1.   The Commission has no persuasive response to Standard

General’s voluntary commitments to waive the after-acquired clauses

and not to conduct journalism or newsroom layoffs for at least two years,

which put the Media Bureau’s purported concerns to rest. Add. 831-833.

The FCC has previously deemed such commitments sufficient to grant

an application.      Univision Radio Stations Group, Inc., 2022 WL

17175457, at *3-4 (F.C.C. Nov. 21, 2022). If the Commission wished to

“monito[r] or enforc[e]” those commitments (Opp. 21), it could make them

conditions of granting the applications. E.g., XM Satellite Radio Hold-

ings Inc., 23 FCC Rcd 12348, 12394-12417, 12427 (2008); Adelphia Com-

munications Corp., 21 FCC Rcd 8203, 8336-8339 (2006). But it cannot

doom the deal while dismissing such pledges wholesale as “unsolicited.”

FCC Mot. to Dismiss 4, No. 23-1083 (Mar. 29, 2023) (FCC Mot.).


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      The Commission probes for gaps in these blanket commitments but

comes up empty. It suggests (at 20) that affiliates of new TEGNA might

secure increased retransmission consent fees by enforcing the after-ac-

quired clauses despite Standard General’s commitments.             But the

waiver’s text categorically forecloses that possibility. Add. 831, 1075.

The FCC also claims (at 20-21) that the waiver does not address “other

possible mechanisms” for increasing retransmission fees in future agree-

ments. But that concern is transparently speculative—not a concern re-

garding these applications—and resolved in any event by a separate com-

mitment concerning post-closing information sharing and coordination.

Add. 831, 834-837.

      For the first time, the Commission (at 28) deems Standard Gen-

eral’s two-year commitment regarding layoffs “narrow.” But it ignores

that Standard General has stated on the record its plans to increase sta-

tion-level staffing and cabined its commitment solely to preserve its abil-

ity to respond to unforeseeable economic conditions. Add. 832-833. Tell-

ingly, the Commission never specifies why two years is insufficient, what

longer period would suffice, or any legal basis for that invisible bench-

mark.


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      The Commission now incredibly cites these very commitments as

evidence that its purported concerns were legitimate. Opp. 22. But as

the Commission previously conceded, the commitments were “unsolic-

ited.” FCC Mot. 4. Standard General volunteered them not in response

to any legitimate concerns the Commission raised, but because Commis-

sion staff refused to discuss their concerns while allowing the clock to run.

Add. 1085. The FCC never stated whether it shared challengers’ unsub-

stantiated concerns. Nevertheless, without conceding that the original

applications were deficient, Standard General sought to revive the

stalled proceedings by taking those concerns off the table. Yet the Com-

mission now perversely turns these commitments into an excuse to elon-

gate proceedings further.

      2.   The Media Bureau independently lacked authority to order a

hearing because it was not presented with (and never cited) affidavits

based on personal knowledge (or documents subject to official notice) sup-

porting challengers’ allegations. 47 U.S.C. § 309(d).




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                           Retransmission Fees

Document/Pages Cited in         Supporting “Evidence”
Order

NewsGuild petition.             None.
Add. 498-500.

Common Cause/UCC peti-          (1) Magazine article about prior CMG
tion. Add. 408-410.             transaction; (2) Standard General proxy
                                statement related to prior effort to pro-
                                pose minority of board members for
                                TEGNA.

Altice comments.                (1) Letter submitted by cable trade group
Add. 550-552.                   in opposition to unrelated application;
                                (2) statement in broadcasters’ applica-
                                tion that describes how transaction will
                                be implemented but says nothing about
                                parties’ intent to invoke particular con-
                                tractual rights.

Altice letter. Add. 754.        None.

ATVA comments. Add. 563.        None.

DISH Network Corp. com-         (1) Unsworn letter from DISH itself;
ments. Add. 861.                (2) NewsGuild petition; (3) ATVA com-
                                ments; (4) challengers’ own motion for
                                additional information.




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                            Staffing Levels

Document/Pages Cited in        Supporting “Evidence”
Order

Common Cause/UCC               (1) Standard General proxy statement
petition. Add. 405-407.        related to prior effort to propose minority
                               of board members for TEGNA; (2) news
                               articles, including one headlined “Stand-
                               ard General tells Tegna employees ‘no in-
                               tention to reduce staff.’ ”

NewsGuild letter.              Deal documents, produced by Standard
Add. 725-726.                  General, referring to staffing reductions
                               TEGNA has already independently un-
                               dertaken.

NewsGuild supplement.          Email from banker to Standard General
Add. 764-768, 770-772.         in which banker refers to “synergies.”

      The Hearing Order thus identified no evidence that could create a

genuine dispute warranting a hearing. The FCC and intervenors cannot

now backfill the Bureau’s analysis by citing other evidence. Nor do they

seriously try. They cite the same documents as the Hearing Order; two

pages produced in discovery; and comment letters, which claim reliance

on the broadcasters’ “internal documents.” FCC Opp. 16-21, 26; Interve-

nors’ Opp. 19-24.

      The few attempts to substantiate retransmission-fee and station-

staffing concerns rest on inaccurate characterizations of the record. For



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example, the Commission’s suggestion (at 25-26) that Standard General

intends to make future staffing reductions—despite its enforceable com-

mitment to the contrary—rests on staffing reductions TEGNA had al-

ready undertaken before the transaction agreement was executed.

Add. 745-746. The Commission’s conjecture about “job cuts contemplated

by Standard General stem[ming] from its own acquisition plans” (Opp.

26) thus grossly distorts the factual record.

                                   *****

        Even if the Commission’s position were otherwise sound, it still

would not justify killing the deal by inaction. If the FCC views the trans-

action as problematic, it should say so in a judicially reviewable order. It

cannot hide behind the Bureau’s order and thereby escape judicial re-

view.

II.     The Commission’s Delay Is Egregious

        The Commission does not dispute that it has failed to render a de-

cision for 400 days and counting, and that the ALJ hearing it has allowed

to proceed cannot result in any decision before the May 22 deadline. That

deal-killing inaction is “egregious” and warrants mandamus. In re Center




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for Biological Diversity, 53 F.4th 665, 670 (D.C. Cir. 2022) (citation omit-

ted). The FCC attempts to shift the blame to the broadcasters for that

extraordinary delay. That effort fails at every step.

      A.   Assertions of the transaction’s purportedly “unprecedented

complexity,” e.g., Intervenors’ Opp. 13; FCC Opp. 5, are demonstrably

false. The transaction is straightforward. It entails a series of standard

corporate acquisitions that will result in the formation of the Nation’s

largest-ever minority-owned and female-led television station group.

Add. 605-616. To achieve that outcome, Standard General is giving up

stations it currently owns and acquiring all but a few stations currently

held by TEGNA, plus another from a third party. Although a layperson

might need some time to trace the steps, that is true of many large cor-

porate transactions. Surely the FCC, which routinely encounters more

complicated transactions, did not need a full year to understand it.

      Indeed, the Commission has approved much more complicated

transfers in a fraction of the time elapsed here. It most recently approved

one application requiring divestiture of 10 stations and multiple other

special dispensations in 168 days, and another requiring divestiture of

23 stations in 62 days. Quincy Media, 36 FCC Rcd 5544, 5544 (2021); PR


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Newswire, Scripps Prices Senior Notes Offering (Dec. 15, 2020),

bit.ly/3M0pETT; Add. 1038. The transaction here required no divesti-

tures or waivers. The Commission’s review if anything should have been

faster.

      Instead, as intervenors’ own data indicate (Opp. 15-16 & Ex. A), the

Commission has dragged its feet here to an unprecedented degree. Of

the prior proceedings they canvass that (like this proposed transaction)

involved television-station acquisitions that complied with the Commis-

sion’s rules without waivers or divestitures, the longest took 182 days—

less than half of the 400 days already consumed here. Even considering

all television-station acquisitions listed (i.e., even those requiring waiv-

ers or divestitures), the mean and median “Total Time” from application

to decision were 243 and 207 days, respectively. Only one such proceed-

ing required more time than has already passed here: the Tribune bank-

ruptcy, where the FCC had to defer processing the application pending a

bankruptcy court’s approval of a reorganization. Tribune Co., 27 FCC

Rcd 14239, 14243-14244, 14249 (2012). The statistics refute any sugges-

tion that the supposed complexity of this transaction excuses the FCC’s

delay.


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        B.   The Commission’s (at 35-36) and intervenors’ (at 12-14) claim

that the broadcasters failed to afford the agency adequate time to com-

plete its review fails for much the same reason. Against the backdrop of

the FCC’s self-imposed 180-day target and its track record of reviewing

comparable transactions in that time or less, the 14-month window se-

cured by the broadcasters should have been more than sufficient.

        The Commission’s apparent view that the broadcasters should have

secured indefinite financing commitments disregards market realities.

Financing commitments entail substantial costs, which increase over

time and burden parties’ operations. They cannot last forever. That is

Finance 101. And neither the Commission nor intervenors identify how

much more time the broadcasters should have negotiated—or how they

could have anticipated the FCC’s subsequent claim that more than dou-

ble the longest period (182 days) it has taken to approve a comparable

transaction is insufficient here. Add. 1038. On their theory, an agency

could pocket-veto any transaction by delaying a decision past the expira-

tion of financing or other key commitments and fault the applicants every

time.




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      As the National Association of Broadcasters explains, that ap-

proach would stifle the industry’s access to capital. Amicus Br. 15-16.

That, in turn, could seriously undermine the FCC’s own goal of promoting

diverse ownership, because “limited access to capital is a concern in the

broadcast industry, especially for * * * minorities and women.” Com-

mission Policies & Procedures Under Section 310(b)(4), 28 FCC Rcd

16244, 16249 (2013). The Commission’s disregard of a commercially rea-

sonable financing deadline would exacerbate a problem the FCC is

charged to correct.

      C.   Finally, the FCC (at 22, 33-37) and intervenors (at 8) implau-

sibly assert that the broadcasters themselves caused delay. The Com-

mission principally points (at 22) to Standard General’s commitments to

resolve challengers’ retransmission-fee and local-staffing issues. But

those commitments were submitted in December 2022 only because, de-

spite the extraordinary demands and scrutiny by challengers to which

the Media Bureau acquiesced, the FCC had refused to engage with

Standard General or to explain what problems the FCC might perceive

with the transaction (and still refused even after Standard General pre-

sented its commitments). Pet. 13-14. The purpose and effect of those


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commitments was to eliminate issues challengers had raised. It would

be disingenuous to describe pledges meant to bring the matter to a close

as derailing the process and resetting the clock.

      The remaining arguments are makeweights. The Commission sug-

gests (at 36 n.24) that it could not act on the applications until the trans-

actions cleared interagency review. But as it admits, that review was

completed in November 2022. Ibid; Add. 817.

      Intervenors argue that the broadcasters caused delay by not acqui-

escing in intervenors’ intrusive discovery demands. Opp. 8. The broad-

casters produced millions of pages in discovery and furnished the Com-

mission with all the information it needed in any event. Pet. 10-14. (The

FCC’s application form, notably, does not even ask applicants for infor-

mation regarding retransmission consent fees or local staffing.) If the

Media Bureau nevertheless believed it needed more, it should have asked

promptly. Neither intervenors’ dissatisfaction with the FCC’s forms nor

the Bureau’s inaction for a year can justify a pointless and unlawful ALJ

hearing now.

      Finally, the Commission simultaneously faults the broadcasters for

acting too slowly and too quickly in seeking to correct the Bureau’s errant


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course. Opp. 34-35. The FCC complains the broadcasters sought judicial

redress “just ten days” after seeking the agency’s intervention—timing

necessary to pursue the direct appeal—yet also insists the broadcasters

should have objected to the Bureau’s delay even earlier, before “it issued

the Hearing Order.” Ibid. Heads-we-win, tails-you-lose is not the law.

The FCC’s effort to blame the broadcasters for its own failure to act while

the clock runs out is meritless.




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                            CONCLUSION

      This Court should grant the petition and issue a writ of mandamus

ordering the Commission to rule on the applications by April 28, 2023.




 April 14, 2023                      Respectfully submitted,

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                  CERTIFICATE OF COMPLIANCE

      Pursuant to Federal Rule of Appellate Procedure 32(g)(1), the un-

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type style, and type-volume limitations. This reply was prepared using

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sive of the portions exempted by Federal Rule of Appellate Procedure

32(f) and D.C. Circuit Rule 32(e)(1), this reply contains 3,898 words. This

certificate was prepared in reliance on the word-count function of the

word-processing system used to prepare this reply.


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                     CERTIFICATE OF SERVICE

      I hereby certify that, on April 14, 2023, I electronically filed the

foregoing reply with the Clerk for the United States Court of Appeals for

the District of Columbia Circuit using the appellate CM/ECF system.

Participants in the case who are registered CM/ECF users will be served

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      I further certify that I have caused the foregoing reply to be hand-

delivered in hard copy to the Clerk’s Office of the United States Court of

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